                                                                                                                                    E
         Case 2:10-cr-00248-JCM-GWF            Document 76       Filed 07/11/11         Page 1 of 3                                 (
                                                                                  FlLE)()                      RE EIkE()
                                                                                  ZNIEFIE;                     SE VE()ON
                                                                                               COI
                                                                                                 INSEL/PAZTIEC REO R:
 1
 2                                                                                       Jtll
                                                                                         S  - 11 2011

 3                                                                       I          CLEIP F(UlS
                                                                                        );$T/
                                                                                                DrSTFkIqT t)ll(J8
                                                                                                         .
                                                                                              IST()FhkcvA()l                    l
                                                                           ..
 y,                                                                         .v.. ... . ......am ...m ..a m . . .. . p.jyjy.
                                                                                                                          j.
                                                                                                                        .. .
                                                                                                                            y

 5

 6                              UNITED STATES DISTRICT COURT
 7                                      DISTR IC T O F N EV AD A

 8 UNITED STATESOFAMERICA,                            )
                                                      )
 9                         Plaintiff,                 )
            v.                                        )
10                                                    )           2:10-CR-248-JCM (OW F)
      RAYM UNDO RODRIGUEZ-JIMENEZ,                    )
11                                                    )
                           Defendant.                 )
12                                                    )
13                                FIN A L O R D ER O F FO R FEITUR E

14          On February 14,2011,theUnited StatesDistrictCourtfortheDistrictofNevadaentered a

15 PreliminaryOrderofForfeiturepursuantto Fed.R.Crim.P.32.2(b)(1)and (2))Title l8,United
16 StatesCodesSection924(d)(1),(2)(C),and(3)(B);Title28,United StatesCode,Section2461(c);
17 Title21,UnitedStatesCode,Section853(a)(1),(a)(2),and(p);Title21,UnitedStatesCode,Section
18 881(a)(11);and Title28,United StatesCode,Section2461(c),based uponthepleaofguiltyby
l9 defendantRaymundoRodriguez-lim enezto acrim inaloffense,forfeiting speciticproperty alleged

20 in theIndictm entand shown by theUnited Statesto havearequisitenexusto the offenseto which
21 defendantRaymundo Rodriguez-lim enezpled guilty.Docket#50,51.
22          This Courttindsthe United States ofAmerica published the notice ofthe forfeiture in
23 accordance with the 1aw consecutively from M arch 1,2011 through to M arch 30,2011,via the

24 oflicialgovernm entinterrletforfeiture site,w ww .fortkiturevgov notifying a11know n third partiesof
25 theirrighttopetition theCourt.Docket#60.
26 ...



                       #
'




             Case 2:10-cr-00248-JCM-GWF           Document 76        Filed 07/11/11       Page 2 of 3
:


I                                                                                                         i
I                                                                                                         !
I    1          ThisCourtIindsno petition wasfiledherein by oron behalfofany person orentityand the
     2 tim e forfiling such petitionsand claim s has expired.
     3          ThisCourtIindsnopetitionsarependingwithregardtotheassetsnam edhereinandthetim e
     4 forpresenting such petitionshasexpired.                  '
     5          TH EREFO RE,IT IS H EREBY ORD ERED ,AD JU DG ED ,A N D D ECREED thatallright,

     6 title,and interestin the property hereinaherdescribed iscondemned,forfeited,and vested in the

     7 United StatesofAmericaplzrsuantto Fed.R.Crim.P.32.2(b)(4)(A)arld (B);Fed.R.Crim,P,
     8 32.2(c)(2);Title 18,United StatesCode,Section 924(d)(1),(2)(C),and (3)(B);Title28,United
     9 StatesCode,Section2461(c);Title21,UrlitedStatesCode,Section853(a)(1),(a)(2),and(p);Title
    10 21,UnitedStatesCode,Section881(a)(11);andTitle28,UnitedStatesCode,Section2461(c),and
    l1 Title21,UnitedStatesCode,Section 853(n)(7)andshallbedisposedofaccordingtolaw:
    12          a) aStarFirestar45,.45calibersemiautomatichandgtm with serialnumber2059799;
    13          b)anyandalIammunition;and
     4                '                          '          y Jkl gm ent o     ,      ,



                IT IS FU RTH ER OR DERED ,A DJUD GED ,AN D D ECREED that any and al1forfeited
    17 ftmds,including butnotlim ited to,cun-ency,currencyequivalents,certiticatesofdeposit,aswell

    18 asany incom ederived asa resultofthe United StatesofAmerica'smanagem entofany property
    19 forfeited herein,and the proceeds flom the sale of any forfeited property shallbe disposed of
    20 according to law .
    21          The Clerk is hereby directed to send copiesofthis Order to allcounselofrecord and three

    22 certitied copiesto the U nit d StatesA ttorney'sO ftice,

    23          DATEDthistt. dayof                                  ,20ll.
    24
    25
                                                                     (
                                                 l D STATES D ISTR ICT JU D GE

    26
'

1
i           Case 2:10-cr-00248-JCM-GWF           Document 76          Filed 07/11/11    Page 3 of 3

                                                                                                      I
                                                                                                      !
     1                                      PR O O F O F SE RV IC E                                   :
                                                                                                      :
     2        1, DanaA .Chzystall,Forfeiture SupportAssociate Paralegal111,certifythatthefollowing    !
                                                                                                      !
     3 individualwassen'ed with acopyofthePreliminaryOrderofForfeitureon M ay 11,2011,by the
    4 below identified m ethod ofservice:

     5
              CM /ECF
     6                                                                                                (
              TravisE.Shetler
     7        Travis E.Shetler,PC
              844 E.SaharaAve.
     8        LasV egas,N V
              Email:tralisshetler@ gmail,com
     9
              Brenda W eksler
    10        FederalPublic Defender
              411 E.Bonneville,Ste.250
    l1        LasV egas,N V 8910 l
              Em ail:Karen Brokaw@ fd.
                          -           org
    12
              Jason F.Carr
    13        FederalPublic Defender
              411E.Bonneville,Ste.250
    14        LmsV egas,N V 89101
    I5
              Email:ECF-Vegas@fd.org
              RaquelLazo
    16        FederalPublic Defender
              411 E.Bonneville,Ste.250
    17        Las V egas,N V 89101
              Email:RaquelLaso@ fd.org
    1s                     -
              RebeccaA .Rosenstein
    19        FederalPublic D efender
              411 E.Bonneville,Ste.250
    20        LasV egas,N V 89101
              Em ail:Rebecca Rosenstein@ fd.
                              -            org
    21

    22
                                            /s/ D ana A .Chrvstall
    23                                      Dana A ,Chrystall
                                            Forfeiture SupportA ssociate ParalegalIII                 .
    24                                                                                                ;
                                                                                                      ;
    25                                                                                                :
                                                                                                      i
    26                                                                                                !
                                                                                                      1
                                                                                                      i
                                                                                                      i
                                                                                                      1
                                                                                                      !
                                                                                                      I
                                                                                                      i
